           Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 1 of 8 PageID# 25
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ


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                                                                           IRUWKH
                                                     Eastern District of Virginia
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
 ,Q 5H 6XESRHQD WR 9LOPL +HQUL .DOOH -RKDQQHV &RUS
                               Plaintiff
                                  Y                                                   &LYLO$FWLRQ1R 1:18MC17-LO-IDD


                              Defendant

                        68%32(1$72352'8&('2&80(176,1)250$7,21252%-(&76
                          25723(50,7,163(&7,212)35(0,6(6 ,1 $&,9,/$&7,21

 7R                                                 9LOPL +HQUL .DOOH -RKDQQHV &25325$7,21

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: <28$5(&200$1'('WRSURGXFHDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWKHIROORZLQJ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGWRSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
PDWHULDO 6HH $WWDFKPHQW $



 3ODFH *HUEHQ /DZ )LUP 3//&                                                            'DWHDQG7LPH
            &RQQHFWLFXW $YH 1: 6XLWH                                                                  SP

     u Inspection of Premises: <28$5(&200$1'('WRSHUPLWHQWU\RQWRWKHGHVLJQDWHGSUHPLVHVODQGRU
RWKHUSURSHUW\SRVVHVVHGRUFRQWUROOHGE\\RXDWWKHWLPHGDWHDQGORFDWLRQVHWIRUWKEHORZVRWKDWWKHUHTXHVWLQJSDUW\
PD\LQVSHFWPHDVXUHVXUYH\SKRWRJUDSKWHVWRUVDPSOHWKHSURSHUW\RUDQ\GHVLJQDWHGREMHFWRURSHUDWLRQRQLW

  3ODFH                                                                                'DWHDQG7LPH



       7KHIROORZLQJSURYLVLRQVRI)HG5&LY3DUHDWWDFKHG±5XOH F UHODWLQJWRWKHSODFHRIFRPSOLDQFH
5XOH G UHODWLQJWR\RXUSURWHFWLRQDVDSHUVRQVXEMHFWWRDVXESRHQDDQG5XOH H DQG J UHODWLQJWR\RXUGXW\WR
UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH        05/23/18

                                   CLERK OF COURT
                                                                                            25

                                           Signature of Clerk or Deputy Clerk                                          Attorney’s signature


 7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party) *HUEHQ /DZ )LUP
3//&                                                                     ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH
(ULF 3HUURWW *HUEHQ /DZ )LUP  &RQQHFWLFXW $YH 1: 6XLWH  HSHUURWW#JHUEHQODZILUPFRP  

                               1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWKH
LQVSHFWLRQRISUHPLVHVEHIRUHWULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUH
LWLVVHUYHGRQWKHSHUVRQWRZKRPLWLVGLUHFWHG)HG5&LY3 D  
            Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 2 of 8 PageID# 26
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ (date)                               

            u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGSHUVRQDVIROORZV


                                                                                            RQ (date)                                    RU

            u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
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            8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
            WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                  

0\IHHVDUH                                      IRUWUDYHODQG                              IRUVHUYLFHVIRUDWRWDORI                    


            ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
            Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 3 of 8 PageID# 27
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

                              )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                   LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
                                                                                    QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
  For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                 VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                      & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
 $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                          PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
 % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        FRQGLWLRQVLIWKHVHUYLQJSDUW\
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                               L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
 L LVDSDUW\RUDSDUW\¶VRIILFHURU                                     RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
 LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO               LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
H[SHQVH
                                                                                    H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
  For Other Discovery. $VXESRHQDPD\FRPPDQG
 $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                Producing Documents or Electronically Stored Information. 7KHVH
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV         SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                            LQIRUPDWLRQ
 % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                         $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                    PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                          PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
                                                                                        % Form for Producing Electronically Stored Information Not Specified.
  Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV           LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH                ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW                  & Electronically Stored Information Produced in Only One Form. 7KH
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH              SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR             LQIRUPDWLRQLQPRUHWKDQRQHIRUP
IDLOVWRFRPSO\                                                                        ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
                                                                                    UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
  Command to Produce Materials or Permit Inspection.                            IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                        RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR             RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI        UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ          PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
KHDULQJRUWULDO                                                                  UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH                E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU               Claiming Privilege or Protection.
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR               $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG         XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU           PDWHULDOPXVW
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH              L H[SUHVVO\PDNHWKHFODLPDQG
WKHIROORZLQJUXOHVDSSO\                                                                LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
       L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\         WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ             SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                             % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
     LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP       WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                      WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                    QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  Quashing or Modifying a Subpoena.                                             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
     $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH            XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                        LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
 L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                             SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
         LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV             FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                             SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
         LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR    UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
         LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                      J &RQWHPSW
    % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ           PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                                ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
          L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFK              VXESRHQDRUDQRUGHUUHODWHGWRLW
GHYHORSPHQWRUFRPPHUFLDOLQIRUPDWLRQRU



                                          )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 4 of 8 PageID# 28




 1                                         ATTACHMENT 1

 2                               DOCUMENTS TO BE PRODUCED:
 3
            All information identifying the owner, operator and/or contact person(s) associated with
 4   the domain www.gerbentrademark.com, including but not limited to name(s), username(s),
     address(es), telephone number(s), email address(es), Internet Protocol (IP) records,
 5   administrative records and billing records from the time the account was established to the
     present.
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           Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 5 of 8 PageID# 29
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                                                     Eastern District of Virginia
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 ,Q 5H 6XESRHQD WR ,QWHUQHW 'RPDLQ 6HUYLFH %6 &RUS
                               Plaintiff
                                  Y                                                   &LYLO$FWLRQ1R 1:18MC17-LO-IDD


                              Defendant

                        68%32(1$72352'8&('2&80(176,1)250$7,21252%-(&76
                          25723(50,7,163(&7,212)35(0,6(6 ,1 $&,9,/$&7,21

 7R                                                        ,QWHUQHW 'RPDLQ 6HUYLFH %6 &RUS

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: <28$5(&200$1'('WRSURGXFHDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWKHIROORZLQJ
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWVDQGWRSHUPLWLQVSHFWLRQFRS\LQJWHVWLQJRUVDPSOLQJRIWKH
PDWHULDO 6HH $WWDFKPHQW $



 3ODFH *HUEHQ /DZ )LUP 3//&                                                            'DWHDQG7LPH
            &RQQHFWLFXW $YH 1: 6XLWH                                                                  SP

     u Inspection of Premises: <28$5(&200$1'('WRSHUPLWHQWU\RQWRWKHGHVLJQDWHGSUHPLVHVODQGRU
RWKHUSURSHUW\SRVVHVVHGRUFRQWUROOHGE\\RXDWWKHWLPHGDWHDQGORFDWLRQVHWIRUWKEHORZVRWKDWWKHUHTXHVWLQJSDUW\
PD\LQVSHFWPHDVXUHVXUYH\SKRWRJUDSKWHVWRUVDPSOHWKHSURSHUW\RUDQ\GHVLJQDWHGREMHFWRURSHUDWLRQRQLW

  3ODFH                                                                                'DWHDQG7LPH



       7KHIROORZLQJSURYLVLRQVRI)HG5&LY3DUHDWWDFKHG±5XOH F UHODWLQJWRWKHSODFHRIFRPSOLDQFH
5XOH G UHODWLQJWR\RXUSURWHFWLRQDVDSHUVRQVXEMHFWWRDVXESRHQDDQG5XOH H DQG J UHODWLQJWR\RXUGXW\WR
UHVSRQGWRWKLVVXESRHQDDQGWKHSRWHQWLDOFRQVHTXHQFHVRIQRWGRLQJVR

'DWH        05/23/18

                                   CLERK OF COURT
                                                                                            25

                                           Signature of Clerk or Deputy Clerk                                          Attorney’s signature


 7KHQDPHDGGUHVVHPDLODGGUHVVDQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ(name of party) *HUEHQ /DZ )LUP
3//&                                                                     ZKRLVVXHVRUUHTXHVWVWKLVVXESRHQDDUH
(ULF 3HUURWW *HUEHQ /DZ )LUP  &RQQHFWLFXW $YH 1: 6XLWH  HSHUURWW#JHUEHQODZILUPFRP  

                               1RWLFHWRWKHSHUVRQZKRLVVXHVRUUHTXHVWVWKLVVXESRHQD
,IWKLVVXESRHQDFRPPDQGVWKHSURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWKH
LQVSHFWLRQRISUHPLVHVEHIRUHWULDODQRWLFHDQGDFRS\RIWKHVXESRHQDPXVWEHVHUYHGRQHDFKSDUW\LQWKLVFDVHEHIRUH
LWLVVHUYHGRQWKHSHUVRQWRZKRPLWLVGLUHFWHG)HG5&LY3 D  
            Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 6 of 8 PageID# 30
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

&LYLO$FWLRQ1R

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            ,UHFHLYHGWKLVVXESRHQDIRU(name of individual and title, if any)
RQ (date)                               

            u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGSHUVRQDVIROORZV


                                                                                            RQ (date)                                    RU

            u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
                                                                                                                                                       

            8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
            WHQGHUHGWRWKHZLWQHVVWKHIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                  

0\IHHVDUH                                      IRUWUDYHODQG                              IRUVHUYLFHVIRUDWRWDORI                    


            ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
            Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 7 of 8 PageID# 31
$2% 5HY 6XESRHQDWR3URGXFH'RFXPHQWV,QIRUPDWLRQRU2EMHFWVRUWR3HUPLW,QVSHFWLRQRI3UHPLVHVLQD&LYLO$FWLRQ 3DJH

                              )HGHUDO5XOHRI&LYLO3URFHGXUH F  G  H DQG J  (IIHFWLYH
F 3ODFHRI&RPSOLDQFH                                                                   LL GLVFORVLQJDQXQUHWDLQHGH[SHUW¶VRSLQLRQRULQIRUPDWLRQWKDWGRHV
                                                                                    QRWGHVFULEHVSHFLILFRFFXUUHQFHVLQGLVSXWHDQGUHVXOWVIURPWKHH[SHUW¶V
  For a Trial, Hearing, or Deposition. $VXESRHQDPD\FRPPDQGD                 VWXG\WKDWZDVQRWUHTXHVWHGE\DSDUW\
SHUVRQWRDWWHQGDWULDOKHDULQJRUGHSRVLWLRQRQO\DVIROORZV                      & Specifying Conditions as an Alternative. ,QWKHFLUFXPVWDQFHV
 $ ZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRU               GHVFULEHGLQ5XOH G  % WKHFRXUWPD\LQVWHDGRITXDVKLQJRU
UHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQRU                                          PRGLI\LQJDVXESRHQDRUGHUDSSHDUDQFHRUSURGXFWLRQXQGHUVSHFLILHG
 % ZLWKLQWKHVWDWHZKHUHWKHSHUVRQUHVLGHVLVHPSOR\HGRUUHJXODUO\        FRQGLWLRQVLIWKHVHUYLQJSDUW\
WUDQVDFWVEXVLQHVVLQSHUVRQLIWKHSHUVRQ                                               L VKRZVDVXEVWDQWLDOQHHGIRUWKHWHVWLPRQ\RUPDWHULDOWKDWFDQQRWEH
 L LVDSDUW\RUDSDUW\¶VRIILFHURU                                     RWKHUZLVHPHWZLWKRXWXQGXHKDUGVKLSDQG
 LL LVFRPPDQGHGWRDWWHQGDWULDODQGZRXOGQRWLQFXUVXEVWDQWLDO               LL HQVXUHVWKDWWKHVXESRHQDHGSHUVRQZLOOEHUHDVRQDEO\FRPSHQVDWHG
H[SHQVH
                                                                                    H 'XWLHVLQ5HVSRQGLQJWRD6XESRHQD
  For Other Discovery. $VXESRHQDPD\FRPPDQG
 $ SURGXFWLRQRIGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRU                Producing Documents or Electronically Stored Information. 7KHVH
WDQJLEOHWKLQJVDWDSODFHZLWKLQPLOHVRIZKHUHWKHSHUVRQUHVLGHVLV         SURFHGXUHVDSSO\WRSURGXFLQJGRFXPHQWVRUHOHFWURQLFDOO\VWRUHG
HPSOR\HGRUUHJXODUO\WUDQVDFWVEXVLQHVVLQSHUVRQDQG                            LQIRUPDWLRQ
 % LQVSHFWLRQRISUHPLVHVDWWKHSUHPLVHVWREHLQVSHFWHG                         $ Documents. $SHUVRQUHVSRQGLQJWRDVXESRHQDWRSURGXFHGRFXPHQWV
                                                                                    PXVWSURGXFHWKHPDVWKH\DUHNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRU
G 3URWHFWLQJD3HUVRQ6XEMHFWWRD6XESRHQD(QIRUFHPHQW                          PXVWRUJDQL]HDQGODEHOWKHPWRFRUUHVSRQGWRWKHFDWHJRULHVLQWKHGHPDQG
                                                                                        % Form for Producing Electronically Stored Information Not Specified.
  Avoiding Undue Burden or Expense; Sanctions. $SDUW\RUDWWRUQH\              ,IDVXESRHQDGRHVQRWVSHFLI\DIRUPIRUSURGXFLQJHOHFWURQLFDOO\VWRUHG
UHVSRQVLEOHIRULVVXLQJDQGVHUYLQJDVXESRHQDPXVWWDNHUHDVRQDEOHVWHSV           LQIRUPDWLRQWKHSHUVRQUHVSRQGLQJPXVWSURGXFHLWLQDIRUPRUIRUPVLQ
WRDYRLGLPSRVLQJXQGXHEXUGHQRUH[SHQVHRQDSHUVRQVXEMHFWWRWKH                ZKLFKLWLVRUGLQDULO\PDLQWDLQHGRULQDUHDVRQDEO\XVDEOHIRUPRUIRUPV
VXESRHQD7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPXVW                  & Electronically Stored Information Produced in Only One Form. 7KH
HQIRUFHWKLVGXW\DQGLPSRVHDQDSSURSULDWHVDQFWLRQ²ZKLFKPD\LQFOXGH              SHUVRQUHVSRQGLQJQHHGQRWSURGXFHWKHVDPHHOHFWURQLFDOO\VWRUHG
ORVWHDUQLQJVDQGUHDVRQDEOHDWWRUQH\¶VIHHV²RQDSDUW\RUDWWRUQH\ZKR             LQIRUPDWLRQLQPRUHWKDQRQHIRUP
IDLOVWRFRPSO\                                                                        ' Inaccessible Electronically Stored Information. 7KHSHUVRQ
                                                                                    UHVSRQGLQJQHHGQRWSURYLGHGLVFRYHU\RIHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQ
  Command to Produce Materials or Permit Inspection.                            IURPVRXUFHVWKDWWKHSHUVRQLGHQWLILHVDVQRWUHDVRQDEO\DFFHVVLEOHEHFDXVH
    $ Appearance Not Required. $SHUVRQFRPPDQGHGWRSURGXFH                        RIXQGXHEXUGHQRUFRVW2QPRWLRQWRFRPSHOGLVFRYHU\RUIRUDSURWHFWLYH
GRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUWDQJLEOHWKLQJVRUWR             RUGHUWKHSHUVRQUHVSRQGLQJPXVWVKRZWKDWWKHLQIRUPDWLRQLVQRW
SHUPLWWKHLQVSHFWLRQRISUHPLVHVQHHGQRWDSSHDULQSHUVRQDWWKHSODFHRI        UHDVRQDEO\DFFHVVLEOHEHFDXVHRIXQGXHEXUGHQRUFRVW,IWKDWVKRZLQJLV
SURGXFWLRQRULQVSHFWLRQXQOHVVDOVRFRPPDQGHGWRDSSHDUIRUDGHSRVLWLRQ          PDGHWKHFRXUWPD\QRQHWKHOHVVRUGHUGLVFRYHU\IURPVXFKVRXUFHVLIWKH
KHDULQJRUWULDO                                                                  UHTXHVWLQJSDUW\VKRZVJRRGFDXVHFRQVLGHULQJWKHOLPLWDWLRQVRI5XOH
    % Objections. $SHUVRQFRPPDQGHGWRSURGXFHGRFXPHQWVRUWDQJLEOH                E  & 7KHFRXUWPD\VSHFLI\FRQGLWLRQVIRUWKHGLVFRYHU\
WKLQJVRUWRSHUPLWLQVSHFWLRQPD\VHUYHRQWKHSDUW\RUDWWRUQH\GHVLJQDWHG
LQWKHVXESRHQDDZULWWHQREMHFWLRQWRLQVSHFWLQJFRS\LQJWHVWLQJRU               Claiming Privilege or Protection.
VDPSOLQJDQ\RUDOORIWKHPDWHULDOVRUWRLQVSHFWLQJWKHSUHPLVHV²RUWR               $ Information Withheld. $SHUVRQZLWKKROGLQJVXESRHQDHGLQIRUPDWLRQ
SURGXFLQJHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQLQWKHIRUPRUIRUPVUHTXHVWHG         XQGHUDFODLPWKDWLWLVSULYLOHJHGRUVXEMHFWWRSURWHFWLRQDVWULDOSUHSDUDWLRQ
7KHREMHFWLRQPXVWEHVHUYHGEHIRUHWKHHDUOLHURIWKHWLPHVSHFLILHGIRU           PDWHULDOPXVW
FRPSOLDQFHRUGD\VDIWHUWKHVXESRHQDLVVHUYHG,IDQREMHFWLRQLVPDGH              L H[SUHVVO\PDNHWKHFODLPDQG
WKHIROORZLQJUXOHVDSSO\                                                                LL GHVFULEHWKHQDWXUHRIWKHZLWKKHOGGRFXPHQWVFRPPXQLFDWLRQVRU
       L $WDQ\WLPHRQQRWLFHWRWKHFRPPDQGHGSHUVRQWKHVHUYLQJSDUW\         WDQJLEOHWKLQJVLQDPDQQHUWKDWZLWKRXWUHYHDOLQJLQIRUPDWLRQLWVHOI
PD\PRYHWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGIRUDQ             SULYLOHJHGRUSURWHFWHGZLOOHQDEOHWKHSDUWLHVWRDVVHVVWKHFODLP
RUGHUFRPSHOOLQJSURGXFWLRQRULQVSHFWLRQ                                             % Information Produced. ,ILQIRUPDWLRQSURGXFHGLQUHVSRQVHWRD
     LL 7KHVHDFWVPD\EHUHTXLUHGRQO\DVGLUHFWHGLQWKHRUGHUDQGWKH        VXESRHQDLVVXEMHFWWRDFODLPRISULYLOHJHRURISURWHFWLRQDV
RUGHUPXVWSURWHFWDSHUVRQZKRLVQHLWKHUDSDUW\QRUDSDUW\¶VRIILFHUIURP       WULDOSUHSDUDWLRQPDWHULDOWKHSHUVRQPDNLQJWKHFODLPPD\QRWLI\DQ\SDUW\
VLJQLILFDQWH[SHQVHUHVXOWLQJIURPFRPSOLDQFH                                      WKDWUHFHLYHGWKHLQIRUPDWLRQRIWKHFODLPDQGWKHEDVLVIRULW$IWHUEHLQJ
                                                                                    QRWLILHGDSDUW\PXVWSURPSWO\UHWXUQVHTXHVWHURUGHVWUR\WKHVSHFLILHG
  Quashing or Modifying a Subpoena.                                             LQIRUPDWLRQDQGDQ\FRSLHVLWKDVPXVWQRWXVHRUGLVFORVHWKHLQIRUPDWLRQ
     $ When Required. 2QWLPHO\PRWLRQWKHFRXUWIRUWKHGLVWULFWZKHUH            XQWLOWKHFODLPLVUHVROYHGPXVWWDNHUHDVRQDEOHVWHSVWRUHWULHYHWKH
FRPSOLDQFHLVUHTXLUHGPXVWTXDVKRUPRGLI\DVXESRHQDWKDW                        LQIRUPDWLRQLIWKHSDUW\GLVFORVHGLWEHIRUHEHLQJQRWLILHGDQGPD\SURPSWO\
 L IDLOVWRDOORZDUHDVRQDEOHWLPHWRFRPSO\                             SUHVHQWWKHLQIRUPDWLRQXQGHUVHDOWRWKHFRXUWIRUWKHGLVWULFWZKHUH
         LL UHTXLUHVDSHUVRQWRFRPSO\EH\RQGWKHJHRJUDSKLFDOOLPLWV             FRPSOLDQFHLVUHTXLUHGIRUDGHWHUPLQDWLRQRIWKHFODLP7KHSHUVRQZKR
VSHFLILHGLQ5XOH F                                                             SURGXFHGWKHLQIRUPDWLRQPXVWSUHVHUYHWKHLQIRUPDWLRQXQWLOWKHFODLPLV
         LLL UHTXLUHVGLVFORVXUHRISULYLOHJHGRURWKHUSURWHFWHGPDWWHULIQR    UHVROYHG
H[FHSWLRQRUZDLYHUDSSOLHVRU
         LY VXEMHFWVDSHUVRQWRXQGXHEXUGHQ                                      J &RQWHPSW
    % When Permitted. 7RSURWHFWDSHUVRQVXEMHFWWRRUDIIHFWHGE\D               7KHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHG²DQGDOVRDIWHUD
VXESRHQDWKHFRXUWIRUWKHGLVWULFWZKHUHFRPSOLDQFHLVUHTXLUHGPD\RQ           PRWLRQLVWUDQVIHUUHGWKHLVVXLQJFRXUW²PD\KROGLQFRQWHPSWDSHUVRQ
PRWLRQTXDVKRUPRGLI\WKHVXESRHQDLILWUHTXLUHV                                ZKRKDYLQJEHHQVHUYHGIDLOVZLWKRXWDGHTXDWHH[FXVHWRREH\WKH
          L GLVFORVLQJDWUDGHVHFUHWRURWKHUFRQILGHQWLDOUHVHDUFK              VXESRHQDRUDQRUGHUUHODWHGWRLW
GHYHORSPHQWRUFRPPHUFLDOLQIRUPDWLRQRU



                                          )RUDFFHVVWRVXESRHQDPDWHULDOVVHH)HG5&LY3 D &RPPLWWHH1RWH  
Case 1:18-mc-00017-LO-IDD Document 2 Filed 05/23/18 Page 8 of 8 PageID# 32




 1                                         ATTACHMENT 1

 2                               DOCUMENTS TO BE PRODUCED:
 3
            All information identifying the owner, operator and/or contact person(s) associated with
 4   the domain www.gerbentrademark.com, including but not limited to name(s), username(s),
     address(es), telephone number(s), email address(es), Internet Protocol (IP) records,
 5   administrative records and billing records from the time the account was established to the
     present.
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